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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             NEWNAN DIVISION

MARKESE L. BAZEMORE,                   *
                                       *
     Plaintiff,                        *
                                       *
v.                                     *      CIVIL ACTION NO.
                                       *
M+A MATTING, LLC,                      *
                                       *      JURY TRIAL DEMAND
     Defendant.                        *

                                   COMPLAINT

       Comes Now, Plaintiff, Markese L. Bazemore, and files his

Complaint     against    the   above-named    Defendant   on   the   following

grounds:

                                 INTRODUCTION

                                       1.

       This   is   an   action   for   race   discrimination,     including   a

racially hostile work environment, and retaliation pursuant to

Title VII of the Civil Rights Act of 1964, as amended by the Civil

Rights Act of 1991 (“Title VII”), codified at 42 U.S.C. § 2000e et

seq.     In addition, this is an action for race discrimination,

including a racially hostile work environment, and retaliation,

including a retaliatory hostile work environment pursuant to 42

U.S.C. § 1981, as amended by the Civil Rights Act of 1991.
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                               JURISDICTION

                                       2.

     The jurisdiction of this Court is invoked pursuant to 28

U.S.C. § 1331 and 28 U.S.C. § 1343.

                                       3.

     Defendant   is    a    Georgia    limited    liability    company     doing

business   within     the   State     of    Georgia,   and   maintaining    its

registered agent and address as Fred L. Turner, 106 Church Street,

LaGrange, Troup County, Georgia 30240.

                                       4.

     This Court has personal jurisdiction over Defendant.

                                       5.

     Defendant is an “employer” engaged in an industry affecting

commerce as defined by 42 U.S.C. § 2000e(b).

                                      VENUE

                                       6.

     Defendant’s      registered      agent    resides   within   the    Newnan

Division of the Northern District of Georgia as defined by 28

U.S.C. § 1391(c)(2).

                                       7.

     Venue in the Newnan Division of the Northern District of

Georgia is proper for Defendant pursuant to 28 U.S.C. § 1391(b)(1).




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                              THE PARTIES

                                   8.

     The Plaintiff is an African-American male who resides in

Phenix City, Alabama.

                                   9.

     From approximately September 7, 2017 until February 8, 2021,

the Plaintiff was employed by Defendant.

                                  10.

     Defendant is a for-profit Georgia limited liability company

operating in the Newnan Division of the Northern District of the

State of Georgia and is subject to the jurisdiction of this Court.

                                  11.

     Defendant may be served with summons and process by service

upon its registered agent, Fred L. Turner, 106 Church Street,

LaGrange, Troup County, Georgia 30240.

                                 FACTS

                                  12.

     Defendant operates its floor matting business throughout the

United States of America, including the State of Georgia.

                                  13.

     On or about September 7, 2017, the Plaintiff was hired by

Defendant as a Machine Operator.




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                                  14.

     During his employment, the Plaintiff was promoted to a Team

Lead.

                                  15.

     After the Plaintiff was promoted to Team Lead, the Plaintiff

did not receive a pay increase, he was not included in meetings,

and he was not provided computer access.

                                  16.

     Jesus Moreno, a non-African American Team Lead, received a

pay increase as a Team Lead, was included in meetings, and was

provided computer access.

                                  17.

     Kevin Sevilla, a non-African American Team Lead, received a

pay increase as a Team Lead, was included in meetings, and was

provided computer access.

                                  18.

     Throughout his employment, the Plaintiff performed his duties

in a satisfactory or above manner.

                                  19.

     On or about May 17, 2020, the Plaintiff noticed that the teeth

had been cut out from his comb that he kept at his workstation.




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                                     20.

    On     or   about   May   17,   2020,    the     Plaintiff   reported   the

harassment to Kevin Sevilla, the Shift Supervisor.

                                     21.

    On or about May 20, 2020, Moreno began harassing the Plaintiff

by destroying his personal property and writing a racial slur,

“Niga,” on the Plaintiff’s comb.

                                     22.

    The Plaintiff immediately reported the racial harassment to

Sevilla.

                                     23.

    The Plaintiff also reported the racial harassment to Andrew

Barber (Caucasian), Supervisor.

                                     24.

    Sevilla and Barber failed to take any action and, instead,

chuckled    about   the   derogatory        racial    slur   written   on   the

Plaintiff’s comb.

                                     25.

    On or about June 1, 2020, the Plaintiff reported the racial

harassment to Terrie Workman, Human Resources Manager.




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                                       26.

     Defendant      failed    to   take    any   action     to     investigate     the

Plaintiff’s    complaint      and/or      to   take    prompt      remedial   action

regarding the racial harassment.

                                       27.

     Defendant fails to maintain a widely disseminated policy

prohibiting    racial        discrimination          and    for     reporting      and

investigating complaints of racial harassment and discrimination.

                                       28.

     On June 3, 2020, after the Plaintiff complained about race

discrimination, Defendant issued the Plaintiff a false verbal

warning.

                                       29.

     On    August   26,   2020,    the     Plaintiff       filed    his   Charge   of

Discrimination with the United States Equal Employment Opportunity

Commission (“EEOC”). (A true and accurate copy of EEOC Charge of

Discrimination #410-2020-05894 is attached hereto as Plaintiff’s

Exhibit A)

                                       30.

     After    Defendant        received        the    Plaintiff’s         Charge    of

Discrimination, Defendant began a retaliatory campaign by issuing

the Plaintiff false write-ups.




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                                       31.

    In September of 2020, Moreno walked by the Plaintiff and

stated: “What’s up nigga?”

                                       32.

    During   his    employment,    the       Plaintiff   and    other   African-

Americans were treated in a disrespectful and demeaning manner.

                                       33.

    During his employment, non-African American employees were

not treated in a disrespectful and demeaning manner.

                                       34.

    The Plaintiff has been subjected to a racially hostile work

environment while employed by Defendant.

                                       35.

    Defendant      was   on   notice    of     the   racially    hostile   work

environment, but failed to properly investigate the Plaintiff’s

complaints and failed to timely take prompt remedial action.

                                       36.

    The Plaintiff has been subjected to a retaliatory hostile

work environment while employed by Defendant.

                                       37.

    Defendant was on notice of the retaliatory hostile work

environment, but failed to properly investigate the Plaintiff’s

complaints and failed to timely take prompt remedial action.


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                                    38.

     On or about February 1, 2021, the Plaintiff was suspended

from employment.

                                    39.

     On or about February 8, 2021, the Plaintiff was terminated

from employment.

                                    40.

     The    reasons   for   the   Plaintiff’s   discipline,   suspension,

and/or termination are false and a pretext for race discrimination.

                                    41.

     The    reasons   for   the   Plaintiff’s   discipline,   suspension,

and/or termination are false and a pretext for retaliation.

                                    42.

     After the Plaintiff’s termination, Defendant replaced the

Plaintiff with a non-African American employee.

                                    43.

     The Plaintiff has been treated differently than similarly-

situated non-African-American employees.

                                    44.

     Similarly-situated non-African-American employees who have

engaged in conduct similar to that which the Plaintiff was accused

of   were    not   disciplined,    suspended,    and/or   terminated     by

Defendant.


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                                    45.

      The Plaintiff has been treated differently than similarly-

situated employees in the terms and conditions of his employment

because of his race.

                                    46.

      Defendant has engaged in illegal discrimination against the

Plaintiff because of his race.

                                    47.

      The Plaintiff has been treated differently than similarly-

situated employees in the terms and conditions of his employment

because of his complaints regarding race discrimination.

                                    48.
      Defendant has engaged in illegal retaliation against the

Plaintiff.

              COUNT ONE: TITLE VII – RACE DISCRIMINATION

                                    49.

      Plaintiff incorporates herein paragraphs 1 through 48 of his

Complaint.

                                    50.

      Defendant has engaged in intentional race discrimination in

the terms and conditions of the Plaintiff’s employment, including,

but   not    limited   to,   his   pay,   discipline,    suspension,      and

termination.


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                                        51.

      The Plaintiff has been subjected to a racially hostile work

environment while employed by Defendant.

                                        52.

      Defendant’s conduct violates Title VII.

                                        53.

      On August 26, 2020, the Plaintiff filed a timely Charge of

Discrimination     alleging      race    discrimination          with   the   EEOC.

(Plaintiff’s Exhibit A)

                                        54.

      On March 23, 2021, the Plaintiff filed a timely Amended Charge

of Discrimination alleging race discrimination with the EEOC.                    (A

true and accurate copy of EEOC Amended Charge of Discrimination

#410-2020-05894 is attached hereto as Plaintiff’s Exhibit B)

                                        55.

      On or about June 12, 2021, the Plaintiff received his “Notice

of   Suit    Rights”    letter    from    the    EEOC     for     his   Charge   of

Discrimination and Amended Charge of Discrimination. (A true and

accurate    copy   of   EEOC   Notice     of    Suit    Rights    for   Charge   of

Discrimination #410-2020-05894 is attached hereto as Plaintiff’s

Exhibit C)




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                                  56.

    The Plaintiff has satisfied all statutory prerequisites for

filing this action.

                                  57.

    The Plaintiff has filed this action under Title VII within

ninety (90) days after receipt of his “Notice of Suit Rights”

letter from the EEOC.

                                  58.

    Defendant’s discriminatory conduct in violation of Title VII

has caused the Plaintiff to suffer a loss of pay, benefits, and

prestige.

                                  59.

    Defendant’s actions have caused Plaintiff to suffer mental

and emotional distress, entitling him to compensatory damages

pursuant to 42 U.S.C. § 1981a.

                                  60.

    Defendant has engaged in discriminatory practices with malice

and reckless indifference to the Plaintiff’s federally protected

rights, thereby entitling him to punitive damages pursuant to 42

U.S.C. § 1981a.




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                  COUNT TWO:   TITLE VII – RETALIATION

                                    61.

      Plaintiff incorporates herein paragraphs 1 through 60 of his

Complaint.

                                    62.

      The Plaintiff has been subjected to a retaliatory hostile

work environment while employed by Defendant.

                                    63.

      Defendant   has   engaged   in   retaliation    in   the    terms      and

conditions   of   the   Plaintiff’s    employment,   including,        but   not

limited to, his pay, discipline, suspension, and termination.

                                    64.

      Defendant’s conduct violates Title VII.

                                    65.

      On August 26, 2020, the Plaintiff filed a timely Charge of

Discrimination alleging retaliation with the EEOC.           (Plaintiff’s

Exhibit A)

                                    66.

      On March 23, 2021, the Plaintiff filed a timely Amended Charge

of    Discrimination     alleging      retaliation    with       the     EEOC.

(Plaintiff’s Exhibit B)




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                                    67.

      On or about June 12, 2021, the Plaintiff received his “Notice

of   Suit    Rights”   letter   from   the   EEOC   for   his   Charge    of

Discrimination and Amended Charge of Discrimination. (Plaintiff’s

Exhibit C)

                                    68.

      The Plaintiff has satisfied all statutory prerequisites for

filing this action.

                                    69.

      The Plaintiff has filed this action under Title VII within

ninety (90) days after receipt of his “Notice of Suit Rights”

letter from the EEOC.

                                    70.

      Defendant’s retaliatory conduct in violation of Title VII has

caused the Plaintiff to suffer a loss of pay, benefits, and

prestige.

                                    71.

      Defendant’s actions have caused Plaintiff to suffer mental

and emotional distress, entitling him to compensatory damages

pursuant to 42 U.S.C. § 1981a.




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                                     72.

       Defendant has engaged in retaliatory practices with malice

and reckless indifference to the Plaintiff’s federally protected

rights, thereby entitling him to punitive damages pursuant to 42

U.S.C. § 1981a.

        COUNT THREE:     42 U.S.C. § 1981 – RACE DISCRIMINATION

                                     73.

       Plaintiff incorporates herein paragraphs 1 through 72 of his

Complaint.

                                     74.

       The Plaintiff has been subjected to a racially hostile work

environment while employed by Defendant.

                                     75.

       Defendant has engaged in intentional race discrimination in

the terms and conditions of the Plaintiff’s employment, including,

but    not   limited   to,   his   pay,    discipline,   suspension,       and

termination.

                                     76.

       Defendant’s conduct violates 42 U.S.C. § 1981.

                                     77.

       Defendant’s discriminatory conduct in violation of 42 U.S.C.

§ 1981 has caused the Plaintiff to suffer a loss of pay, benefits,

and prestige.


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                                   78.

    Defendant’s actions have caused Plaintiff to suffer mental

and emotional distress, entitling him to compensatory damages.

                                   79.

    Defendant has engaged in discriminatory practices with malice

and reckless indifference to the Plaintiff’s federally protected

rights, thereby entitling him to punitive damages.

             COUNT FOUR:   42 U.S.C. § 1981 – RETALIATION

                                   80.

    Plaintiff incorporates herein paragraphs 1 through 79 of his

Complaint.

                                   81.

    The Plaintiff has been subjected to a retaliatory hostile

work environment while employed by Defendant.

                                   82.

    Defendant     has   engaged   in   retaliation   in   the   terms   and

conditions   of   the   Plaintiff’s    employment,   including,   but   not

limited to, his pay, discipline, suspension, and termination.

                                   83.

    Defendants’ conduct violates 42 U.S.C. § 1981.




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                                       84.

    Defendant’s retaliatory conduct, in violation of 42 U.S.C. §

1981, has caused the Plaintiff to suffer a loss of pay, benefits,

and prestige.

                                       85.

    Defendant’s actions have caused Plaintiff to suffer mental

and emotional distress, entitling him to compensatory damages.

                                       86.

    Defendant has engaged in retaliatory practices with malice

and reckless indifference to the Plaintiff’s federally protected

rights, thereby entitling him to punitive damages.

                              PRAYER FOR RELIEF

                                       87.

    Wherefore, Plaintiff prays for a judgment as follows:

    1. That the Court order Defendant to reinstate his employment;

    2. That the Court grant full front pay to the Plaintiff;

    3. That the Court grant full back pay to the Plaintiff;

    4. That the Court grant all lost benefits to the Plaintiff;

    5. That the Court grant Plaintiff compensatory damages for

       the humiliation, emotional distress, and other damages

       caused by Defendant’s conduct;

    6. That     the   Court    grant    Plaintiff   punitive   damages   for

       Defendant’s malicious and recklessly indifferent conduct;


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 7. That the Court grant Plaintiff all employment benefits he

    would have enjoyed had he not been discriminated against;

 8. That the Court grant Plaintiff expenses of litigation,

    including reasonable attorneys’ fees, pursuant to Title

    VII and/or 42 U.S.C. § 1988;

 9. That the Court grant Plaintiff a jury trial;

 10. That the Court grant Plaintiff all other relief the Court

    deems just and proper; and

 11. That the Court grant temporary, preliminary, and permanent

    injunctive relief prohibiting Defendant from engaging in

    further discriminatory conduct.

 Respectfully submitted this 7th day of September 2021.

                              THE REDDY LAW FIRM, P.C.

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